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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ARDELYX, INC., et al.,

              Plaintiffs,

       v.
                                                     Civil Action No. 24-2095 (BAH)
XAVIER BECERRA,
Secretary of Health and Human Services, et
al.,

              Defendant.




                             MEMORANDUM IN SUPPORT OF
                            DEFENDANTS’ MOTION TO DISMISS
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                                        INTRODUCTION

       The Medicare program provides health-insurance coverage to individuals who are at least

65 years old and are entitled to Social Security benefits, to disabled individuals who meet certain

requirements, and to qualified individuals who suffer from End-Stage Renal Disease (“ESRD”)

requiring dialysis or a kidney transplant. The Centers for Medicare & Medicaid Services (“CMS”

or “the Agency”), an agency within the Department of Health and Human Services, administers

the Medicare program on behalf of the Secretary of Health and Human Services.

       Congress instructed the Secretary to establish ”a payment system under which a single

payment is made under this subchapter to a provider of services or a renal dialysis facility for renal

dialysis services . . . in lieu of any other payment.” Id. § 1395rr(b)(14)(A)(i). This single payment

under the ESRD Prospective Payment System is known as the “bundled payment.”                    Id. at

§§ 1395rr(b)(14)(F)(i)(I) & 1395rr(b)(14)(G). Congress established a list of things that “the term

‘renal dialysis services’ includes,” 42 U.S.C. § 1395rr(b)(14)(B), and specifically stated that the

term “does not include vaccines,” id., but it has largely left to the agency the task of determining

on a granular level which items and services are included in the bundle and covered by the ESRD

Prospective Payment System bundled payment.

       Beneficiaries, providers, and others have well-established avenues to obtain administrative

and, ultimately, judicial review of many types of claims arising under the Medicare statute.

Congress, however, singled out certain agency actions as precluded from review: the Medicare

statute provides that “there shall be no administrative or judicial review” of specified decisions,

including the “identification of renal dialysis services included in the bundled payment” under

Medicare’s ESRD Prospective Payment System. Id. § 1395rr(b)(14)(G).
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       CMS recently identified the drug XPHOZAH as a “renal dialysis service” that would be

“included in the ESRD [Prospective Payment System] bundled payment” effective January 1, 2025

and so notified XPHOZAH’s manufacturer. See Pls. Exh. 1. CMS’s decision that XPHOZAH is

a renal dialysis service was hardly surprising: the Food and Drug Administration (“FDA”)

approved XPHOZAH only for adults with chronic kidney disease on dialysis, and the drug treats

hyperphosphatemia, a common comorbidity of chronic kidney disease that can cause, among other

things, loss of bone density.

       Undeterred by the clear statutory language precluding judicial review of their claim,

Plaintiffs (the manufacturer of XPHOZAH and two nonprofit organizations) bring this suit to

challenge, in their words, “CMS’s recent determination that XPHOZAH is a renal dialysis service,

to be included in the ESRD [Prospective Payment System] bundled payment as of January 1,

2025.” Compl. ¶ 33 (ECF No. 1). Plaintiffs attempt to bring this challenge because they would

prefer to have XPHOZAH remain eligible for payment under Medicare Part D rather than be part

of the bundled payment to dialysis facilities. They seek to challenge precisely the type of action

that Congress explicitly precluded from administrative or judicial review. Because statutory

preclusion of judicial review over Plaintiffs’ claims strips this Court of jurisdiction, Defendants’

Motion to Dismiss should be granted.

                                        BACKGROUND

I.     The Medicare Program and Coverage for End-Stage Renal Disease.

       Medicare is a federal health insurance program for the elderly and disabled, see 42 U.S.C.

§ 1395, et seq., and the Secretary administers the Medicare through CMS. Medicare generally

provides benefits via four parts: Part A, hospital insurance; Part B, medical insurance covering

physician and other outpatient health care services, including renal dialysis performed outside of

a hospital; Part C, privately administered Medicare managed care plans; and Part D, which


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provides subsidized outpatient prescription drug coverage for enrollees.          See 42 U.S.C.

§§ 1395d(a); 1395o; 1395w-21; 1395w-101. Since 1973, Medicare has provided health insurance

coverage for people suffering from End-Stage Renal Disease (“ESRD”) who need either dialysis

or kidney transplantation to maintain life. Pub. L. 92-603, § 299I, 86 Stat. 1463-64; see also 42

U.S.C. § 426-1; see generally Medicare.gov, End-Stage Renal Disease (ESRD), available at

https://www.medicare.gov/basics/end-stage-renal-disease. Under the original law, Medicare paid

for dialysis services on a cost basis with an upper limit per treatment, meaning that Medicare paid

the reasonable costs incurred by a provider up to the statutory limit.

       During the 1980s, in part to control costs, Congress began moving away from reasonable

cost reimbursement towards prospective payment systems for many aspects of the Medicare

program. Under a prospective payment system, payment is determined in advance based on a

formula that can include a patient’s diagnosis, geographic wage factors, and other considerations.

For example, under the inpatient prospective payment system, a hospital is paid “a fixed rate for

treating each Medicare patient, based on the patient’s diagnosis and regardless of the hospital’s

actual costs.” Becerra v. Empire Health Found., 597 U.S. 424, 429 (2022) (citing 42 U.S.C.

§ 1395ww(d)(1)-(4)). Prospective payment is designed to reflect what efficiently run providers or

suppliers would expend to treat a patient with a certain diagnosis; it provides an incentive to

provide efficient medical service.     Most prospective payment systems include adjustments

incorporating various factors that might make a patient’s treatment more expensive than the

formula predicts.

       As part of the Omnibus Budget Reconciliation Act of 1981, Congress instructed the

Secretary to “provide by regulation for a method (or methods) for determining prospectively the

amounts of payments to be made for dialysis services furnished by providers of services and renal




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dialysis facilities to individuals in a facility and to such individuals at home.” Pub L. 97-35

§ 2145(a)(7), 95 Stat. 800; see 42 U.S.C. § 1395rr(b)(7). This system, despite determining

amounts prospectively, did not establish a bundled rate for renal dialysis services. In the Medicare

Prescription Drug, Improvement, and Modernization Act of 2003, Congress mandated a bundled

rate for certain renal dialysis service: “beginning with services furnished on January 1, 2005, the

Secretary shall establish a basic case-mix adjusted prospective payment system for dialysis

services furnished by providers of services and renal dialysis facilities . . .”. Pub. L. 108-173, 117

Stat. 2313; see 42 U.S.C. § 1395rr(b)(12). The bundled payment established in 2003 did not

include, among other things, certain drugs commonly used to treat anemia and vitamin D

deficiency, which Medicare paid for separately on a fee-for-service or reasonable cost basis. See

75 Fed. Reg. 49,030, 49,032 (Aug. 12, 2010). Congress later expanded what Medicare covers

under the ESRD bundle in the Medicare Improvements for Patients and Providers Act of 2008

(“Medicare Improvement Act”), including specifically instructing that the agency include

erythropoiesis stimulating agents (a common treatment for anemia caused by severe kidney

disease) and drugs and biological products that treat ESRD: “[F]or services furnished on or after

January 1, 2011, the Secretary shall implement a payment system under which a single payment

is made under this title to a provider of services or a renal dialysis facility for renal dialysis

services.” Pub. L. 110-275, 122 Stat. 2553; see 42 U.S.C. § 1395rr(b)(14). Congress defined the

term “renal dialysis services” to include:

       (i)     items and services included in the composite rate for renal dialysis services
               as of December 31, 2010;
       (ii)    erythropoiesis stimulating agents and any oral form of such agents that are
               furnished to individuals for the treatment of end stage renal disease;
       (iii)   other drugs and biologicals that are furnished to individuals for the
               treatment of end stage renal disease and for which payment was (before the
               application of this paragraph) made separately under this subchapter, and
               any oral equivalent form of such drug or biological; and



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       (iv)    diagnostic laboratory tests and other items and services not described in
               clause (i) that are furnished to individuals for the treatment of end stage
               renal disease.

       42 U.S.C. § 1395rr(b)(14)(B). Congress specifically stated that the term “renal dialysis

services . . . does not include vaccines.” Id. It expressly excluded certain actions by the agency

from “administrative or judicial review,” including, as relevant here, “the identification of renal

dialysis services included in the bundled payment.” 42 U.S.C. § 1395rr(b)(14)(G).

II.    Implementation of The Medicare Improvement Act.

       After the Medicare Improvement Act’s passage, CMS promulgated through notice-and-

comment the first of several final rules implementing Congress’s directive to establish a bundled

payment system for renal dialysis services. In its first post- Medicare Improvement Act final rule,

CMS said that Congress’s definition of renal dialysis services “viewed as a whole . . . suggests a

comprehensive definition that wraps in all items and services related to outpatient renal dialysis

that are furnished to individuals for the treatment of ESRD.” 75 Fed. Reg. 49,030, 49,040 (Aug.

12, 2010). As part of its development of the final rule, the Agency “performed an extensive

analysis of Medicare payments for Part B drugs and biologicals billed on ESRD claims in 2007,

2008, and 2009 to identify drugs or biologicals that are ESRD-related and therefore met the

definition of renal dialysis services” under section 1395rr(b)(14)(B). 75 Fed. Reg. at 49,047. The

Agency decided to categorize drugs and biological products “on the basis of drug action . . . to

determine which categories (and therefore, drugs and biologicals within the categories) would be

ESRD-related.” Id. As a result of its analysis, the Agency determined that certain functional

categories were not ESRD-related (even if they were frequently administered to beneficiaries

suffering from chronic kidney disease) and therefore excluded them from the bundled base rate.

Id at 49,048-49. The Agency also determined that a number of drug categories should be classified

as renal dialysis services, including the “[b]one and mineral metabolism” category, which the


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agency described as “[d]rugs used to prevent/treat bone disease secondary to dialysis.” Id. at

49,050. “Recogniz[ing] that drugs and biologicals used for ESRD-related conditions may change

over time based on many factors including new developments,” CMS stated that its categorization

“based on mechanism of action” would allow it to “account for other drugs and biologicals that

may be used for those actions in the future under the ESRD [Prospective Payment System].” The

Agency listed specific drugs in an appendix to the final rule and clarified that “any drug or

biological furnished for the purpose . . . of bone and mineral metabolism will be considered renal

dialysis services under the ESRD [Prospective Payment System].”

       The drug designation process was later codified in regulation at 42 C.F.R. § 413.234. For

new products, “[i]f the new renal dialysis drug or biological process is used to treat or manage a

condition for which there is an ESRD [Prospective Payment System] functional category, the new

renal dialysis drug is considered included” in the bundled payment. Id. at § 413.234(b)(1). Under

this policy, dialysis facilities would not receive a separate payment for administering an injectable

drug; instead, administration of the drug would be covered as part of the single bundled payment

for performing dialysis.    For oral-only drugs covered under the policy, payment would be

unavailable under Medicare Part D, and the ESRD bundled payment to the dialysis facility would

cover dispensing of the drug through either an in-house or contracted pharmacy.

       CMS decided to delay inclusion of oral drugs with no injectable equivalent in the ESRD

bundle until January 1, 2014, three years after the effective date of the rest of the payment bundle.

75 Fed. Reg. at 49,044. The Agency provided several reasons for the delay, including that it

“would provide sufficient time for ESRD facilities to establish a pharmacy in accordance with

state licensure requirements, or establish arrangements with pharmacies to provide oral-only drugs

to their patients,” id. at 49,043, and “provide additional time to evaluate the need for additional




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clinical indicators applicable to the monitoring of certain patient conditions associated with oral-

only drugs,” id. at 49,044. This delay was meant to allow ESRD facilities to prepare for dispensing

non-injectable drugs that would be included in their bundled payments.

        Since the Agency promulgated its final rule in 2010, Congress has further legislated on the

issue of the scope of the ESRD Prospective Payment System bundle and the timing of its

implementation. The American Taxpayer Relief Act of 2012 instructed the Secretary to reduce

the ESRD prospective payment amount “to reflect the Secretary’s estimate of the change in the

utilization of drugs and biologicals described in clauses (ii), (iii), and (iv) of [42 U.S.C.

§ 1395rr(b)(14)(B)] (other than oral-only ESRD-related drugs, as such term is used in the final

rule promulgated by the Secretary in the Federal Register on August 12, 2010 (75 Fed. Reg.

49,030).” Pub. L. 112-240, 126 Stat. 2354. An adjacent provision delayed the inclusion of “oral-

only ESRD-related drugs in the ESRD prospective payment system” until January 1, 2016.

        The 2014 Protecting Access to Medicare Act further delayed inclusion of oral-only ESRD-

related drugs in the bundle until January 1, 2024. Pub. L. 113—93, 128 Stat. 1061. Later that

same year, Congress added another year to the delay. Pub. L. 113-295, § 204, 128 Stat. 4065.

Oral-only drugs will therefore become part of the ESRD bundled payment effective January 1,

2025. At that point, separate Medicare payment under the Part D program for outpatient drugs

will no longer be available for drugs that are part of the bundle. In a recent proposed rule, CMS

stated: “We anticipate that the incorporation of oral-only drugs into the ESRD [Prospective

Payment System] will increase access to those drugs for beneficiaries.” 89 Fed. Reg. 55,760,

55,797 (July 5, 2024).

III.    Transitional Drug Add-On Payment Adjustments.

        The ESRD Prospective Payment System statute, 42 U.S.C. § 1395rr(b)(14)(D), and

regulations include several provisions providing for adjustments to the base rate (i.e., the


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prospectively determined rate for performing dialysis) to facilities in designated circumstances.

For example, the “Outliers” provisions at 42 C.F.R. § 413.237 are designed to “protect an ESRD

facility from significant financial losses due to unusually high costs.” CMS.gov, ESRD PPS

Outlier Services, available at https://www.cms.gov/medicare/payment/prospective-payment-

systems/end-stage-renal-disease-esrd/esrd-pps-outlier-services. Adjustments to the base rate are

also available for other circumstances, including for low-volume facilities, 42 C.F.R. § 413.232,

rural facilities, § 413.233, and patients with “characteristics that result in higher costs for ESRD

facilities,” § 413.235.

       Recognizing the value of supporting “high-value innovation” and giving practitioners “the

ability to evaluate the appropriate use of a new product and its effect on patient outcomes,” 84 Fed.

Reg. 60,648, 60,654 (Nov. 8, 2019), CMS has also established an ESRD Prospective Payment

System add-on payment adjustment for certain transitional drugs, meaning that a facility

administering a drug covered by the policy can receive extra Medicare funds for using that drug

in its treatment of a dialysis patient. See 42 C.F.R. § 413.234. As applied to drugs within an

existing functional category, this add-on is meant “to help ESRD facilities to incorporate new drug

and biological products and make appropriate changes in their businesses to adopt such products;

provide additional payment for such associated costs, [and] promote competition among drugs and

biological products within the ESRD [Prospective Payment System] functional categories.” 84

Fed. Reg. at 60,654. Under this policy, a new renal dialysis drug or biological product as defined

at § 413.234(a) that fits within one of the functional categories that the Agency established in

implementing the ESRD Prospective Payment System can receive a transitional add-on payment

adjustment for two years. § 413.234(c)(1). Thereafter, a further post-transitional drug add-on

payment adjustment may be made for a further three years. § 413.234(c)(3). Because the add-on




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payment adjustments are based on a drug’s average sales price, § 413.234(c), the Agency issued

guidance directing manufacturers how and when to provide the required data. See Pls. Ex. 2.

IV.    Factual Background.

       Plaintiff Ardelyx, Inc. developed the drug XPHOZAH (tenapanor), which according to its

FDA label “is indicated to reduce serum phosphorus in adults with chronic kidney disease on

dialysis as add-on therapy in patients who have an inadequate response to phosphite binders or

who are intolerant of any dose of phosphate binder therapy.” Def’s Exh. A (XPHOZAH FDA

Label).1 The FDA approved XPHOZAH in October 2023. Compl. ¶ 74. Following its approval

and in response to a request from Ardelyx to exclude its drug from the ESRD bundled payment,

CMS determined that XPHOZAH, which the FDA approved to treat patients “with chronic kidney

disease on dialysis,” (emphasis added) is a “renal dialysis service” under 42 U.S.C.

§ 1395rr(b)(14)(B) and 42 C.F.R. § 413.171. As the Agency explained in its letter to the Chief

Medical Officer of Ardelyx, XPHOZAH “is used as an add-on therapy in patients with chronic

kidney disease who are on dialysis who have an inadequate response to phosphate binders or who

are intolerant of any dose of phosphate binder therapy.” Pls. Exh. 1. CMS further explained that

XPHOZAH meets the “regulatory definition of an oral-only drug at [42 C.F.R.] section

413.234(a),” meaning that it would be included in the ESRD Prospective Payment System bundled

payment effective January 1, 2025. Id. In the same letter, CMS described to Ardelyx the process

to apply to include XPHOZAH in the Transitional Drug Add-on Payment Adjustment and directed

the company to agency guidance on the issue. The Agency reiterated its determination that


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        Under Federal Rule of Evidence 201(b)(2), courts may take judicial notice of facts that
“can be accurately and readily determined from sources whose accuracy cannot reasonably be
questioned.” Under that provision, courts in this Circuit have taken judicial notice of statements
on the Food and Drug Administration’s website, see Carik v. U.S. Dep’t of Health & Human Servs.,
4 F. Supp. 3d 41, 48 n.4 (D.D.C. 2013), and district courts in other circuits have taken judicial
notice of FDA labels, see Ramirez v. Medtronic, 961 F. Supp. 2d 977, 984 (D. Ariz. 2013).


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XPHOZAH is a renal dialysis service in the Calendar Year 2025 ESRD Prospective Payment

System proposed rule, stating that “CMS has identified XPHOZAH to be a renal dialysis service

because it is used to treat or manage a condition associated with ESRD” and that it “meets the

current regulatory definition of an oral-only drug as defined at § 413.234(a).” 89 Fed. Reg.

at 55,796.

       On July 2, 2024, Ardelyx announced that it had decided against submitting an application

for XPHOZAH to receive the Transitional Drug Add-on Payment Adjustment. Def’s Exh B

(Ardelyx Form 8-K Dated July 2, 2024).2

V.     This Lawsuit.

       Plaintiffs filed their Complaint on July 17, 2024. Compl. Plaintiffs challenge “CMS’s

recent determination that XPHOZAH is a renal dialysis service, to be included in the ESRD

bundled payment as of January 1, 2025.” Id. ¶ 33. The complaint identifies as the “final agency

action” at issue CMS’s determination “in a letter decision issued on May 13, 2024 that ‘CMS has

identified XPHOZAH to be a renal dialysis service under 42 CFR 413.171’ and will be included

in the ESRD [Prospective Payment System] bundled payment system effective January 1, 2025.”

Id. ¶ 54 (quoting Pls. Exh. 1). Plaintiffs’ three claims for relief allege that the “May 13, 2024

determination that XPHOZAH is a ‘renal dialysis service’ that shall be added to the bundled

payment system as of January 1, 2025” violates the Administrative Procedure Act and the

Medicare statute, id. ¶¶ 202, 211, and challenge “Defendants’ determination that any new oral-

only drug is a ‘renal dialysis service’ . . . that shall be added to the bundled payment system as of

January 1, 2025.” Id. ¶ 215. They seek declaratory and injunctive relief stating that XPHOZAH

is not a renal dialysis service and is not subject to inclusion in the ESRD Prospective Payment


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       Courts routinely take judicial notice of Securities and Exchange Commission filings under
Federal Rule of Evidence 201. See SEC v. RPM Int’l, 282 F. Supp. 3d 1, 10 n.4 (D.D.C. 2017).


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System bundle, vacating Defendants’ determinations to the contrary, and enjoining Defendants

from treating XPHOZAH as a renal dialysis service or placing it into the bundled payment system.

They also seek an order vacating Defendants’ determinations that oral-only drugs are a “renal

dialysis service” subject to inclusion in the bundle and enjoining Defendants from so treating oral-

only drugs or placing them into the bundled payment system.

                                       LEGAL STANDARD

        Under Rule 12(b)(1), a plaintiff bears the burden of establishing jurisdiction by a

preponderance of the evidence. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). A

court considering a Rule 12(b)(1) motion must “assume the truth of all material factual allegations

in the complaint and ‘construe the complaint liberally, granting plaintiff the benefit of all

inferences that can be derived from the facts alleged.” Am. Nat’l Ins. Co. v. FDIC, 642 F.3d 1137,

1139 (D.C. Cir. 2011) (quoting Thomas v. Principi, 394 F.3d 970, 972 (D.C. Cir. 2005)). A court

may examine materials outside the pleadings as it deems appropriate to resolve the question of its

jurisdiction. See Herbert v. Nat’l Acad. of Scis., 974 F.2d 192, 197 (D.C. Cir. 1992).

                                            ARGUMENT

        This Court lacks jurisdiction over Plaintiffs’ claims because Congress has decreed that

“[t]here shall be no administrative or judicial review under section 1395ff of this title, section

1395oo of this title, or otherwise of . . . the identification of renal dialysis services included in the

bundled payment.” 42 U.S.C. § 1395rr(b)(14)(G). The general presumption in favor of judicial

review “may be overcome by, inter alia, specific language that is a reliable indicator of

congressional intent to preclude judicial review.” Ascension Borgess Hosp. v. Becerra, 61 F.4th

999, 1003 (D.C. Cir. 2023) (cleaned up). Plaintiffs challenge “CMS’s recent determination that

XPHOZAH is a renal dialysis service, to be included in the ESRD [Prospective Payment System]




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bundled payment as of January 1, 2025.” Compl. ¶ 33. The Agency action that Plaintiffs here

seek to challenge is precisely the sort of decision that Congress has insulated from “administrative

or judicial review.” 42 U.S.C. § 1395rr(b)(14)(G). Plaintiffs do not even acknowledge this

preclusion provision in their Complaint. “When it comes to judicial review of agency action,

[a federal court’s subject-matter] jurisdiction may be as wide or as narrow as Congress chooses.”

Knapp Med. Ctr. v. Burwell, 192 F. Supp. 3d 129, 134 (D.D.C. 2016), aff’d, 875 F.3d 1125 (D.C.

Cir. 2017). And where Congress has “expressly foreclosed judicial review . . . the Court must

dismiss Plaintiffs’ challenge to HHS’s final decision.” Id. “In interpreting a provision precluding

judicial review, the court must determine whether the challenged agency action is of the sort

shielded from review and may not inquire whether a challenged agency action is arbitrary,

capricious, or procedurally defective unless sure of its subject matter jurisdiction.” Ascension

Borgess Hosp. v. Becerra, 557 F. Supp. 3d 122, 129 (D.D.C. 2021), aff’d, 61 F.4th 999 (internal

quotation marks omitted).

        The above cited cases involved the preclusion prevision at 42 U.S.C. § 1395ww(r)(3),

which states that “[t]here shall be no administrative or judicial review under section 1395ff of this

title, section 1395oo of this title, or otherwise of the following” and then lists two items. The

operative language (i.e., “[t]here shall be no administrative or judicial review under section 1395ff

of this title, section 1395oo of this title, or otherwise”) of the preclusion provision at issue in this

case is identical in material respects to the language addressed by this Court and the D.C. Circuit

in the Ascension Borgess cases, and Plaintiffs seek to challenge exactly the type of action (namely,

the “identification” of XPHOZAH as a “renal dialysis service included in the bundled payment,”

42 U.S.C. § 1395rr(b)(14)(G)) that Congress precluded from judicial review.                  This case

accordingly may proceed no further and should be dismissed at the outset.




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        Plaintiffs’ Complaint is clear about the object of their purported challenge: “CMS’s recent

determination that XPHOZAH is a renal dialysis service, to be included in the ESRD [Prospective

Payment System] bundled payment as of January 1, 2025.” Compl. ¶ 33; see also ¶¶ 44 (“CMS’s

action placing XPHOZAH into the ESRD [Prospective Payment System] bundle was arbitrary,

capricious, contrary to law, and short of statutory right, and therefore must be set aside.”); id. ¶ 145

(“CMS’s inclusion of oral-only drugs, including XPHOZAH, into the bundled payment system is

therefore arbitrary, capricious, contrary to law, and in excess of statutory jurisdiction.”); id. ¶ 168

(“CMS’s May 13, 2024 letter nonetheless sweeping XPHOZAH into the ESRD [Prospective

Payment System] bundle is therefore arbitrary, capricious, and contrary to law.”); id. ¶ 202 (claim

for relief challenging “[d]efendants’ May 13, 2024 determination that XPHOZAH is a ‘renal

dialysis service’ that shall be added to the bundled payment system as of January 1, 2025”); id.

¶ 211 (same); id. ¶ 215 (claim for relief challenging “[d]efendants’ determination that any new

oral-only drug is a ‘renal dialysis service,’ (see definition of ‘Renal dialysis services’ at 42 CFR

413.171(3)), that shall be added to the bundled payment system as of January 1, 2025 (see 89 Fed.

Reg. 55760, 55795-96)”). Plaintiffs would prefer to have their drug remain eligible for payment

under Medicare Part D, rather than having it covered as part of a bundled payment to the facilities

that dispense the drug. But the relief they seek faces an insurmountable jurisdictional obstacle

established by Congress: “There shall be no administrative or judicial review under section 1395ff

of this title, section 1395oo of this title, or otherwise of . . . the identification of renal dialysis

services included in the bundled payment.” 42 U.S.C. § 1395rr(b)(14)(G).

        Plaintiffs base their claim for jurisdiction on the general federal question jurisdiction

statute, 28 U.S.C. § 1331, “because this action arises under the APA, 5 U.S.C. §§ 701-06.” Compl.

¶ 52. But the APA does not apply “to the extent that . . . statutes preclude judicial review.”




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5 U.S.C. § 701. Plaintiffs therefore lack a cause of action under the APA—and this Court has no

jurisdiction—because the Medicare statute explicitly precludes judicial review of their claims. The

other statutory provisions (namely, the Declaratory Judgment Act, 28 U.S.C. §§ 2201 & 2202, and

the Mandamus Act, 28 U.S.C. § 1361) cited in Plaintiffs’ Complaint do not confer alternate bases

for jurisdiction. “[S]imply put, the Declaratory Judgment Act is not a jurisdiction-conferring

statute.” Yee v. Jewell, 228 F. Supp. 3d 48, 53 (D.D.C. 2017). And Plaintiffs, despite citing the

Mandamus Act in the jurisdiction section of their Complaint, do not mention it again and do not

attempt to “meet the stringent standard for establishing mandamus jurisdiction.” For example,

they make no claim that “the defendant owes [them] a clear nondiscretionary duty.” Id.3 Whether

this Court has subject-matter jurisdiction over this matter therefore depends on whether the

Medicare statute precludes judicial review.

       This Court has recognized that its role “[i]n interpreting a provision precluding judicial

review” is to “determine whether the challenged agency action is of the sort shielded from review.”

Ascension Borgess, 557 F. Supp. 3d at 129. Much like the provision at issue in that case, see id.

at 125 (quoting 42 U.S.C. § 1395ww(r)(3)), the preclusion statute at issue here bars review under

42 U.S.C. §§ 1395ff and 1395oo “or otherwise” of a list of agency actions, one of which is relevant

here: “the identification of renal dialysis services included in the bundled payment.” 42 U.S.C.

§ 1395rr(b)(14)(G). The “challenged agency action” here is precisely CMS’s determination “in a

letter decision issued on May 13, 2024 that ‘CMS has identified XPHOZAH to be a renal dialysis

service under 42 CFR 413.171’ and will be included in the ESRD [Prospective Payment Service]

bundled payment system effective January 1, 2025.” Compl. ¶ 54 (emphasis added) (quoting Pls.’



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       In any event, this Court has previously concluded that a statute precluding jurisdiction
under the Medicare statute “or otherwise” bars Mandamus Act jurisdiction. See Ascension
Borgess, 557 F. Supp. 3d at 135 n.7.


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Exh. 1). The textual overlap between what Congress precluded from judicial review and what

Plaintiffs seek to challenge here could hardly be more complete. Lest there be any doubt,

Plaintiffs’ claims for relief target the “determination that XPHOZAH is a ‘renal dialysis service’

that shall be added to the bundled payment system,” id. ¶¶ 202 & 211, and the “determination that

any new oral-only drug is a ‘renal dialysis service’ . . . that shall be added to the bundled payment

system.” Id. ¶ 215.

       Moreover, Plaintiffs’ prayer for relief seeks, inter alia, a declaratory judgment that

“XPHOZAH is not a ‘renal dialysis service” and is “not subject to inclusion in the ESRD

[Prospective Payment System] bundle,” along with vacatur of “Defendants’ determinations that

XPHOZAH is a ‘renal dialysis service’ subject to inclusion in the ESRD [Prospective Payment

System] bundle.” Id. at p. 49. They also seek an order “vacating and setting aside Defendants’

determinations . . . that oral-only drugs are a ‘renal dialysis service’ subject to inclusion in the

ESRD [Prospective Payment System] bundle” and an injunction prohibiting Defendants from

including oral-only drugs in the bundle in the future. Id. at p. 50. Of course, Plaintiffs identify no

“oral-only drug” other than XPHOZAH that might be included in the bundle, now or in the future,

and Plaintiffs’ sole claim for relief that does not mention XPHOZAH nonetheless specifically

challenges “the identification of renal dialysis services included in the bundled payment.” 42

U.S.C. § 1395rr(b)(14(G). In short, Plaintiffs’ claims fall squarely within the plain text of the

preclusion statute. Accordingly, Plaintiffs’ complaint should be dismissed.



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                                     CONCLUSION

     For the above reasons, this Court should dismiss Plaintiffs’ Complaint.

Dated: September 17, 2024                   Respectfully submitted
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